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                                     UNITED STATE BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF INDIANA
                                          FORT WAYNE DIVISION

IN RE:                                       )
                                             )                  CASE NO. 18-10633
TREVOR JUSTIN WALKER and                     )
MELISSA SUE WALKER,                          )
                                             )
                     DEBTORS.                )

     MOTION FOR AUTHORITY TO SELL REAL ESTATE BY PRIVATE SALE, FREE AND
     CLEAR OF LIENS, AND TO MAKE PAYMENT OF SECURED AND ADMINISTRATIVE
                          CLAIMS AND CLOSING COSTS

          Martin E. Seifert, Trustee (“Trustee”), pursuant to 11 U.S.C. § 363, files this motion to

approve sale of real estate, free and clear of all liens, encumbrances, and interests (“Motion”).

As his Motion, the Trustee states as follows:

                                                  JURISDICTION

          1.         This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334(b) and District Court Local Rule 200.1. This matter is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2)(A), (M), (N) and (O).

          2.         Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

          3.         The basis for the relief requested is 11 U.S.C. §§ 363(b), (f) and (m), and Federal

Rules of Bankruptcy Procedure 2002 and 6004.

                                                  BACKGROUND

          4.         On April 16, 2018, the Debtors filed a Petition for Relief under Chapter 7 of the

United States Bankruptcy Code (the “Petition Date”).

          5.         On April 16, 2018, Martin E. Seifert was immediately appointed as Trustee.



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          6.         Among the assets of the estate is a parcel of real estate commonly known as 773

N 1100 W, Dunkirk, Indiana 47336 (“Real Estate”).

          7.         The Trustee has received and accepted an offer to purchase the Real Estate for

$68,000.00 subject to the approval of the Court. A true and accurate copy of the Purchase

Agreement is attached as Exhibit A.

          8.         PennyMac Loan Services, LLC (“Secured Creditor”) has represented and

warranted that it possesses a valid, perfected, enforceable and unavoidable mortgage lien on the

Real Estate by virtue of a promissory note and a mortgage recorded in the Office of the Recorder

of Jay County, Indiana (the “Secured Creditor Indebtedness”).

                                             RELIEF REQUESTED

          9.         The Trustee has determined that, pursuant to 11 U.S.C. §§ 704(1) and 363(b)(1),

(f) and (m), it is in the best interests of the estate to sell the Real Estate by private sale, free and

clear of liens. As a material inducement to the Trustee’s decision to pursue the proposed sale,

the Secured Creditor consents to the sale of the Real Estate and the payment of a carve-out fund

of $5,000.00 (the “Carve-Out Fund”) will provide a means to pay for the costs of this case and

provide a source of funds for recovery by other creditors.

                                             BASIS FOR RELIEF

A.        The Sale of the Real Estate Should be Approved

          10.        The Trustee seeks the Court’s authority to sell the Real Estate free and clear of all

liens, claims, encumbrances, and interests, but otherwise “As-Is, Where-Is” and without

representations or warranties of any type, express or implied, being given by the Trustee and his

professionals, pursuant to the sale procedures described below.


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          11.        The Trustee has entered into a Purchase and Sale Agreement for the Real Estate in

the amount of $68,000.00, which has been approved by the Secured Creditor and will result in a

carve-out for the bankruptcy estate in the amount of $5,000.00. A true and accurate copy of the

Secured Creditors’ consent is attached as Exhibit B.

          12.        Accordingly, the Trustee submits that the sale of the Real Estate pursuant to the

above process is reasonable under 11 U.S.C. § 363(b).

B.        The Sale of the Real Estate Should be Approved Free and Clear of All Interests

          13.        The Trustee also seeks authority to pay the real estate brokers per the Court’s

prior order on the Application to Employ and to pay the customary costs of closing.

          14.        Attached as Exhibit C is a proposed settlement statement showing the anticipated

payments.

          15.        The Trustee respectfully requests that this Court: (a) waive the 14 day stay

pursuant to Rule 6004(h), deem the sale order enforceable immediately upon entry, and authorize

the Trustee to close on the sale immediately upon entry of the Final Sale Order; and (b) authorize

the Trustee to take all actions and execute all documents he deems reasonable, necessary and/or

desirable to effectuate the requested relief.




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                                                   CONCLUSION

          WHEREFORE, the Trustee respectfully requests that the Court enter an Order

approving the sale of the Real Estate pursuant to 11 U.S.C. § 363, and for such other and further

relief as this Court deems proper in the premises.

          Dated: July 19, 2019
                                                                Respectfully submitted,

                                                                CHAPTER 7 TRUSTEE
                                                                444 EAST MAIN STREET
                                                                FORT WAYNE, INDIANA 46802
                                                                TELEPHONE: (260) 426-0444
                                                                FAX: (260) 422-0274
                                                                EMAIL: mseifert@hallercolvin.com

                                                                BY: /s/ Martin E. Seifert
                                                                   MARTIN E. SEIFERT
                                                                   I.D. #16857-02


                                             CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a true and exact copy of the above and foregoing
Motion for Authority to Sell Real Estate by Private Sale, Free and Clear of Liens, and to Make
Payment of Secured and Administrative Claims and Closing Costs has been sent electronically
by the Court’s electronic filing service or by first class United States mail, postage prepaid, this
19th day of July, 2019, to:

          Steven J. Glaser, Esq.                          United States Trustee
          Glaser & Ebbs                                   555 One Michiana Square
          132 E. Berry Street                             100 East Wayne Street
          Fort Wayne, IN 46802                            South Bend, Indiana 46601

                                                                /s/ Martin E. Seifert
                                                                MARTIN E. SEIFERT




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DocuSign Envelope ID: B73B2F84-2DA8-43DB-8EC1-7B0AD515BED5                                34        Filed 07/19/19                 Page 5 of 19
          Listing Broker (Co.) Berkshire Hathaway Indiana Realty                           (~M_E1_20_ _~) By Mary Cordle                                         (ME2180
                                                                                                Office code                                                      individual code
          Selling Broker (Co.) .:._FC.:c.. . ;_T=uc=k=e'-'rM=u=n=c=ie'----------- ~ - - - - - By Lisa Buckner
       ~'44'4~~/ff:if                                                                           Office code                                                      individual code
         l!REALTORS~JNC.
           lNDIANA
           ASSOCIATION Of                                               PURCHASE AGREEMENT
                                                                             (IMPROVED PROPERTY)
                                            For use only by members of the Indiana Association of REAL TORS®
   1      Date: March 19, 2019
   2
   3      A.    BUYER:                                     Cory Conkle, Rebecca Conkle                                           ("Buyer")
   4            agrees to buy the following property from the owner ("Seller'') for the consideration and subject to the following terms,
   5            provisions, and conditions:
   6
   7      B.    PROPERTY: The property ("Property") is known as                         773 N 1100 W
   8            in          Knox               Township,            Jay County          County,            Dunkirk
   9            Indiana,  47336-9077       (zip code) legally described as: PT NW 1/4 515 T23 R 12 Total 2.603A I
  10
  11            together with any existing permanent improvements and fixtures attached (unless leased or excluded), including, but
  12            not limited to, electrical and/or gas fixtures, heating and central air-conditioning equipment and all attachments thereto,
  13            built-in kitchen equipment, sump pumps, water softener, water purifier, gas grills, fireplace inserts, gas logs and grates,
  14            central vacuum equipment, window shades/blinds, curtain rods, drapery poles and fixtures, ceiling fans and light
  15            fixtures, towel racks and bars, storm doors, windows, awnings, TV antennas, wall mounts, satellite dishes, storage
  16            barns, all landscaping, mailbox, garage door opener'{s) with control(s) AND THE FOLLOWING: Dishwasher
  17
  18
  19            EXCLUDES THE FOLLOWING:
                                                               -------------------------------
  20
  21            HOME HEATING FUEL: Any remaining fuel stored in tank(s)                                       D
                                                                                     to be included in the sale  will be purchased by                        D
  22            Buyer at current market price measured within five (5) days prior to closing Ix] not applicable.
  23            The terms of this Agreement will determine what items are included/excluded, not the Seller's Disclosure Form,
  24            multiple listing service or other promotional materials. All items sold shall be fully paid for by Seller at time of
  25            closing the transaction. Buyer should verify total square footage, land, room dimensions or community amenities
  26            if material.
  27
  28 C.         PRICE: Buyer will pay the total purchase price of($ 68,000.00              ) Sixty-Eight Thousand
  29            _ _ _ _ _ _ _ _ _ _ _ _ U.S. Dollars for the Property. If Buyer obtains an appraisal of the Property, this
  30            Agreement is contingent upon the Property appraising at no less than the agreed upon purchase price. If appraised
  31            value is less than the agreed upon purchase price, either party may terminate this Agreement or parties may mutually
  32            agree to amend the price.
  33
  34 D.         EARNEST MONEY:
  35            1. Submission: Buyer submits $ 1 000.00                                       U.S. Dollars as earnest money which shall be
  36               applied to the purchase price at closing. If not submitted with Purchase Agreement, Earnest money shall be
  37               delivered to Escrow Agent within                   3            D hours Ix) days of acceptance of offer to purchase.
  38               Unless indicated otherwise in this Agreement, the listing broker shall act as Escrow Agent and shall, after acceptance
  39               of the Agreement and within two (2) banking days of receipt of the earnest money, deposit the earnest money
  40               into its escrow account and hold it until time of closing the transaction or termination of this Agreement. Earnest money
  41               shall be returned promptly to Buyer in the event this offer is not accepted. If Buyer fails for any reason to timely submit
  42               Earnest Money in the contracted amount, Seller may terminate this Agreement upon notice to Buyer prior to Escrow
  43               Agent's receipt of the Earnest Money.
  44            2. Disbursement: Upon notification that Buyer or Seller intends not to perform, and if Escrow Agent is the Broker,
  45               then Broker holding the Earnest Money may release the Earnest Money as provided in this Agreement. If no
  46               provision is made in this Agreement, Broker may send to Buyer and Seller notice of the disbursement by certified
  47               mail of the intended payee of the Earnest Money as permitted in 876 IAC 8-2-2. If neither Buyer nor Seller enters
  48               into a mutual release or initiates litigation within sixty (60) days of the mailing date of the certified letter, Broker may
  49               release the Earnest Money to the party identified in the certified letter. If the Escrow Agent is the Broker, Broker
  50               shall be absolved from any responsibility to make payment to Seller or Buyer unless the parties enter into a Mutual
  51               Release or a Court issues an Order for payment, except as permitted in 876 IAC 8-2-2 (release of earnest money).
  52               Buyer and Seller agree to hold the Broker harmless from any liability, including attorney's fees and costs, for good
  53               faith disbursement of Earnest Money in accordance with this Agreement and licensing regulations
                                                    773 N 1100 W Dunkirk IN 47336-9077
                                                                                      (Property Address)
                                                                       Page 1 of 8         (Purchase Agreement)
                                                                                    Copyright IAR 2019
   FC Tucker/ Five Star Real Est, 3417 W Bethel Ave Suite E Muncie IN 47304                                                Phone: 7652892400          Fax:             773Nll00W



                                                                                                                                                      Exhibit A
   Lisa Buckner                                 Produced with zipForm® by ziplogix 18070 Fifteen Mile Road, Fraser, Michigan 48026 www.zipLogix com
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DocuSign Envelope ID: 873B2F84-2DA8-43DB-8EC1-7B0AD515BED5                   34       Filed 07/19/19                  Page 6 of 19
  54       3.   Legal Remedies/Default: If this offer is accepted and Buyer fails or refuses to close the transaction, without
  55            legal cause, the earnest money shall be retained by Seller for damages Seller has or will incur. Seller retains all
  56            rights to seek other legal and equitable remedies, which may include specific performance and additional monetary
  57            damages. All parties have the legal duty to use good faith and due diligence in completing the terms and
  58            conditions of this Agreement. A material failure to perform any obligation under this Agreement is a default which
  59            may subject the defaulting party to liability for damages and/or other legal remedies, which, as stated above, may
  60            include specific performance and monetary damages in addition to loss of Earnest Money.
  61 E.         METHOD OF PAYMENT: (Check appropriate paragraph number)
  62            1.        CASH: The entire purchase price shall be paid in cash, U.S. Dollars, and no financing is required. Bu~r to
  63                      provide proof of funds submitted      with offer within _ _ _ _ _ _ days of acceptance. Buyer lJ will
  64                     D will not have an appraisal.
  65            2. Ix] NEW MORTGAGE: Completion of this transaction shall be contingent upon the Buyer's ability to obtain a
  66
  67
  68
                    ix]Conventional
                    mortgage loan for
                                         •  Insured Conventional
                                              95.000
                                                                        FHA OVA O0ther: _ _ _ _ _ _ _ _ _ _ _ _ first
                                                         % of purchase price, payable in not less than      30 years, with an
  69                original rate of interest not to exceed       5.500       % per annum and not to exceed     points. Buyer
  70                shall pay all costs of obtaining financing, except _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  71
  72                Any inspections and charges which are required to be made and charged to Buyer or Seller by the lender,
  73                FHA, VA, or mortgage insurer, shall be made and charged in accordance with their prevailing rules or
  74                regulations and shall supersede any provisions of this Agreement.
  75
  76
  77
  78
           3.
           4.
           5.
                §   ASSUMPTION: ( Attach Financing Addendum)
                    CONDITIONAL SALES CONTRACT: (Attach Financing Addendum)
                    OTHER METHOD OF PAYMENT: (Attach Financing Addendum)
  79
  80 F.    TIME FOR OBTAINING FINANCING:
  81       1. Application: Within           5      days after the acceptance of this Agreement, Buyer agrees to make written
  82              application for any financing necessary, to complete this transaction or for approval to assume the unpaid balance
  83              of the existing mortgage and to make a diligent effort to meet the lender's requirements and to obtain financing in
  84              cooperation with the Broker and Seller. Buyer authorizes lender to order appraisal immediately.
  85       2. Approval: No more than           45     days after acceptance of this Agreement shall be allowed for obtaining loan
  86              approval or mortgage assumption approval. If an approval is not obtained within the time specified above, this
  87              Agreement may terminate unless an extension of time for this purpose is mutually agreed to in writing.
  88
  89 G.    CLOSING:
  90        1. DATE: The closing of the sale (the "Closing Date") shall be on or before                      May 3, 2019             , or
  91           within _ _ _ _ _days after within 45 days of short sale approval                   , whichever is later or this Agreement
  92           shall terminate unless an extension of time is mutually agreed to in writing. Any closing date earlier than the latest
  93           date above must be by mutual written agreement of the parties.
  94       2. FEE: The settlement or closing fee incurred in conducting the settlement charged by the closing agent or company
  95           shall be paid by D Buyer (included in allowance, if provided) D Seller Ix] Shared equally.
  96       3. CONTINGENCY: This Agreement:

                    ~
  97                   is not contingent upon the closing of another transaction;
  98                   is contingent upon the closing of the pending transaction on Buyer's property located at - - - - - - -
  99                ~ - - - - - - - - - - - - - - - - - - - s c h e d u l e d to close by _ _ _ _ _ _ _ _ __
 100                Dis contingent upon the acceptance of a Purchase Agreement on Buyer's property:
 101                     D Addendum to Purchase Agreement First Right Contingency. See attached Addendum.
 102                     D Addendum to Purchase Agreement Limited Purchase Contingency Right. See attached Addendum.
 103       4. GOOD FUNDS: Notwithstanding terms to the contrary, the Parties agree that as a condition to Closing, all funds
 104           delivered to the closing agent's escrow account be in such form that the closing agent shall be able to disburse in
 105           compliance with I.C. 27-07-3.7 et. seq. Therefore, all funds from a single source of $10,000, U.S. Dollars, or more shall
 106           be wired unconditionally to the closing agent's escrow account and all funds under $10,000, U.S. Dollars, from a single
 107           source shall be good funds as so defined by statute. Buyer is advised that the cost incurred to wire funds on behalf of
 108           the buyer to the closing agent's escrow account for the closing of this transaction shall become an expense to the buyer
 109           and the actual cost incurred shall appear on the closing statement.
 110       5. WIRE FRAUD. If you receive any electronic communication directing you to transfer funds or provide
 111           nonpublic personal information, EVEN IF THAT ELECTRONIC COMMUNICATION APPEARS TO BE FROM
 112           BROKER OR TITLE COMPANY, do not respond until you verify the authenticity by direct communication with
 113           Broker or Title Company. Do not rely on telephone numbers provided in the electronic communication. Such
 114           requests may be part of a scheme to steal funds or use your identity.

                                                     773 N 1100 W Dunkirk IN 47336-9077
                                                                        (Property Address)
                                                         Page 2 of 8         (Purchase Agreement)
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 115 H.
 116
 117
           POSSESSION:
           1. The possession of the Property shall be delivered to Buyer lx]atclosing
              the day after closing by _ _ _ a.m.           D p.m.      D
                                                                      noon or       D                 Don
                                                                                                                     •
                                                                                              within _ _ _ _ _ days beginning
                                                                                      or before _ _ _ _ _ _ _ _ _ if closed.
 118          For each day Seller is entitled to possession after closing, Seller shall pay to Buyer at closing $ _ _ _ _ _ U.S.
 119          Dollars per day. If Seller does not deliver possession by the date and time required in the first sentence of this
 120          paragraph, Seller shall pay Buyer$ _ _ _ _ _ _ U.S. Dollars per day as liquidated damages until possession
 121          is delivered to Buyer; and Buyer shall have all other legal and equitable remedies available against the Seller.
 122       2. Maintenance of Property: Seller shall maintain the Property in its present condition until its possession is
 123          delivered to Buyer, subject to repairs in response to any inspection. Buyer may inspect the Property prior to closing
 124          to determine whether Seller has complied with this paragraph. Seller shall remove all debris and personal property not
 125          included in the sale.
 126       3. Casualty Loss: Risk of loss by damage or destruction to the Property prior to the closing shall be borne
 127          by Seller, including any deductible(s). In the event any damage or destruction is not fully repaired prior to closing,
 128          Buyer, at Buyer's option, may either (a) terminate this Agreement with prompt return of earnest money to
 129          buyer or (b) elect to close the transaction, in which event Seller's right to all real property insurance proceeds
 130          resulting from such damage or destruction shall be assigned in writing by Seller to Buyer.
 131       4. Utilities/Municipal Services: Seller shall pay for all municipal services and public utility charges through the day of
 132          possession.
 133
 134 I.    SURVEY: Buyer shall receive a (Check one)                    0
                                                                SURVEYOR LOCATION REPORT, which is a survey where corner
 135       markers are not set; D BOUNDARY SURVEY, which is a survey where corner markers of the Property are set prior to
 136       closing; Ix] WAIVED, no survey unless required by lender; at (Check one) D Buyer's expense (included in
 137       allowance, if provided)      DSeller's expense              D
                                                               Shared equally. The survey shall (1) be received prior to closing and
 138       certified as of a current date, (2) be reasonably satisfactory to Buyer, (3) show the location of all improvements and
 139       easements, and (4) show the flood zone designation of the Property. If Buyer waives the right to conduct a survey, the
 140       Seller, the Listing and Selling Brokers, and all licensees associated with Brokers are released from any and all liability
 141       relating to any issues that could have been discovered by a survey. This release shall survive the closing.
 142
 143 J.    FLOOD AREA/OTHER: If the property is located in a flood plain, Buyer may be required to carry flood insurance at
 144       Buyer's expense. Revised flood maps and changes to Federal law may substantially increase future flood insurance
 145       premiums or require insurance for formerly exempt properties. Buyer should consult with one or more flood insurance
 146       agents regarding the need for flood insurance and possiblej;!remium increases. Buyer Ix] may D may not terminate this
 147       Agreement if the Property requires flood insurance. Buyer iXJ may D may not terminate this Agreement if the Property is
 148       subject to building or use limitations by reason of the location, which materially interfere with Buyer's intended use of
 149       the Property.
 150
 151 K.    HOMEOWNER'S INSURANCE: Completion of this transaction shall be contingent upon the Buyer's ability to
 152       obtain a favorable written commitment for homeowner's insurance within    15     days after acceptance of this
 153       Agreement. Buyer should consult with one or more insurance agents regarding optional, or additional, coverage.
 154
 155 L.    ENVIRONMENTAL CONTAMINANTS ADVISORY/RELEASE: Buyer and Seller acknowledge that Listing Broker,
 156       Selling Broker and all licensees associated with Brokers are NOT experts and have NO special training, knowledge or
 157       experience with regard to the evaluation or existence of possible lead-based paint, radon, mold and other biological
 158       contaminants ("Environmental Contaminants") which might exist and affect the Property. Environmental Contaminants
 159       at harmful levels may cause property damage and serious illness, including but not limited to, allergic and/or respiratory
 160       problems, particularly in persons with immune system problems, young children and/or the elderly.
 161
 162       Buyer is STRONGLY ADVISED to obtain inspections (see below) to fully determine the condition of the Property and its
 163       environmental status. The ONLY way to determine if Environmental Contaminants are present at the Property at
 164       harmful levels is through inspections.
 165
 166       Buyer and Seller agree to consult with appropriate experts and accept all risks for Environmental
 167       Contaminants and release and hold harmless all Brokers, their companies and licensees from any and all
 168       liability, including attorney's fees and costs, arising out of or related to any inspection, inspection result,
 169       repair, disclosed defect or deficiency affecting the Property, including Environmental Contaminants. This
 170       release shall survive the closing.
 171
 172 M.    INSPECTIONS: (Check one)
 173
174        Buyer has been made aware that independent inspections disclosing the condition of the property may be conducted
175        and has been afforded the opportunity to require such inspections as a condition of this Agreement.
                                            773 N 1100 W Dunkirk IN 47336-9077
                                                                        (Property Address)
                                                         Page 3 of 8 (Purchase Agreement)
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 176    1. 0 BUYER WAIVES THE RIGHT TO HAVE INDEPENDENT INSPECTIONS
 177             Buyer WAIVES inspections and relies upon the condition of the Property based upon Buyer's own examination
 178             and releases the Seller, the Listing and Selling Brokers and all licensees associated with Brokers from any and
 179             all liability relating to any defect or deficiency affecting the Property, which release shall survive the closing.
 180             Required FHANA or lender inspections are not included in this waiver.
 181
 182    2. Ix] BUYER RESERVES THE RIGHT TO HAVE INDEPENDENT INSPECTIONS (including Lead-Based Paint)
 183             Buyer reserves the right to have independent inspections in addition to any inspection required by FHA, VA, or
 184             Buyer's lender(s). All inspections shall be:
 185                   a. At Buyer's expense (unless agreed otherwise by the parties or required by lender);
 186                   b. Conducted by licensed, independent inspectors or qualified independent contractors selected by
 187                         Buyer within the following time periods.
 188        Seller shall have water, gas, electricity and all operable pilot lights on for Buyer's inspections. Seller must make all
 189        areas of the Property available and accessible for Buyer's inspection.
 190
 191 INSPECTION/RESPONSE PERIOD:
 192    A. Initial Inspection Period: Buyer shall order all independent inspections after acceptance of the Purchase Agreement.
 193        Buyer shall have            14        days beginning the day following the date of acceptance of the Purchase Agreement
 194        to respond to the inspection report(s) in writing to Seller (see "Buyer's Inspection Response").
 195    B. Scope of Inspection: Inspections may include but are not limited to the condition of the following systems and
 196        components: heating, cooling, electrical, plumbing, roof, walls, ceilings, floors, foundation, basement, crawl space,
 197        well/septic, water, wood destroying insects and organisms, lead-based paint (note: intact lead-based paint that is in
 198        good condition is not necessarily a hazard), radon, mold and other biological contaminants and/or the following:
 199
 200    C. Additional Inspection: If the INITIAL inspection report reveals the presence of lead-based paint, radon, mold and
 201        other biological contaminants, or any other condition that requires further examination or testing, then Buyer shall
 202        notify Seller in writing and have          7       additional days from the deadline listed above to order, receive
 203        and respond in writing to all inspection reports.
 204    D. Inspection Response(s) Required: If the Buyer does not comply with any Inspection/Response Period or make a
 205        written objection to any problem revealed in a report within the applicable Inspection/Response Period, the Property shall
 206        be deemed to be acceptable. If one party fails to respond or request in writing an extension of time to respond to the
 207        other party's Independent Inspection Response, then that inspection response is accepted. A timely request for
 208        extension is not an acceptance of the inspection response, whether or not granted. A reasonable time period to respond
 209        is required to prevent misuse of this acceptance provision. Factors considered in determining reasonable time periods
 210        include, but are not limited to, availability of responding party to respond, type and expense of repairs requested and
 211        need of responding party to obtain additional opinions to formulate a response.
 212    E. If Defect is identified: If an Inspection Report reveals a DEFECT(S) with the Property, the Buyer must:
 213             1. Provide the inspection report, or relevant parts thereof, to the Seller; and
 214             2. Give the Seller the opportunity to remedy the defect(s).
 215    F. Seller Response to Inspection Defect: If Seller is unable or unwilling to remedy the defect(s) to Buyer's reasonable
 216        satisfaction before closing (or at a time otherwise agreed to by the parties), then Buyer may terminate this Agreement
 217        or waive such defect(s) and the transaction shall proceed toward closing.
 218    G. DEFECT Defined: Under Indiana law, "Defect" means a condition that would have a significant adverse effect on
 219        the value of the Property, that would significantly impair the health or safety of future occupants of the property, or
 220        that if not repaired, removed, or replaced would significantly shorten or adversely affect the expected normal life of
 221        the premises.
 222    H. Previously Disclosed Defect: Buyer agrees that any property defect(s) previously disclosed by Seller, or routine
 223        maintenance and minor repair items mentioned in any report, shall not be a basis for termination of this agreement.
 224    I. Inspection Release: Buyer releases and holds harmless all Brokers and their companies from any and all liability,
 225        including attorney's fees and costs, arising out of or related to any inspection, inspection result, repair, disclosed
 226        defect or deficiency affecting the Property, including but not limited to lead-based paint, radon, mold and other
 227        biological contaminants. This release shall survive the closing.
 228
 229    3. 0 PROPERTY IS SOLD "AS IS". See Attached Addendum.
 230
 231 N. LIMITED HOME WARRANTY PROGRAM:
 232    Buyer acknowledges the availability of a LIMITED HOME WARRANTY PROGRAM with a deductible paid !& Buyer
 233    which Owill lx]will not be provided at a cost not to exceed$ _ _ _ _ _ _ _ _ U.S. Dollars charged to LJ Buyer
 234    0 Seller and ordered by O Buyer OSeller. Buyer and Seller acknowledge this LIMITED HOME WARRANTY
 235    PROGRAM may not cover any pre-existing defects in the Property nor replace the need for an independent home
 236    inspection. Broker may receive a fee from the home warranty provider and/or a member benefit. The Limited Home
 237    Warranty Program is a contract between Buyer/Seller and the Home Warranty Provider. The Parties agree that Brokers
 238    and their companies shall be released and held harmless in the event of claims disputes with the Home Warranty
 239    Provider.
                                                      773 N 1100 W Dunkirk IN 47336-9077
                                                                         (Property Address)
                                                          Page 4 of 8 (Purchase Agreement)
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 240 0.     DISCLOSURES: (Check one)
 241        1. Buyeroo has      O
                           has not                O
                                     not applicable received and executed SELLER'S RESIDENTIAL REAL ESTATE
 242           SALES DISCLOSURE.
 243        2. Buyer    00
                       has      O
                           has not                O
                                     not applicable received and executed a LEAD-BASED PAINT CERTIFICATION
 244           AND ACKNOWLEDGEMENT.
 245
 246 P.     TITLE APPROVAL: Prior to closing, Buyer shall be furnished with oo a title insurance commitment for the
 247        most current and comprehensive ALTA Owner's Title Insurance Policy available in the amount of the purchase price or
 248        Dan    abstract of title continued to date, showing marketable title to Property in Seller's name. Seller must convey title free
 249        and clear of any encumbrances and title defects, with the exception of any mortgage assumed by Buyer and any restrictions
 250        or easements of record not materially interfering with Buyer's intended use of the Property. A title company, at Buyer's
 251        request, can provide information about availability of various additional title insurance coverages and endorsements and the associated
 252        costs.
 253
 254        Owner's Title Insurance Premium and that portion of Title Service Fees incurred to prepare the Owner's Policy
 255        (including title search and examination and commitment preparation), to be paid by D Buyer (included in allowance,
 256        if provided)  00  Seller D Shared equally.
 257
 258        Lender's Title Insurance Premium and that portion of Title Service Fees incurred to prepare the Lender's Policy
 259        (including title search and examination and commitment preparation), if applicable, to be paid by Buyer (included in                                                      00
 260        allowance, if provided)        D                D
                                         Seller Shared equally                                       D
                                                                   Other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 261
 262
 263        The parties agree that     00 Seller D Buyer will select a title insurance company to issue a title insurance policy and will
 264        order the commitment       00 immediately or D other: Single Source Property Solutions
 265
 266
 267        Pursuant to Federal and State Law, Seller cannot make Seller's selection of a title insurance provider a condition of this
 268        Agreement.
 269
 270        Seller agrees to pay the cost of obtaining all other documents necessary to perfect title (including the cost of the deed
 271        and vendor's affidavit), so that marketable title can be conveyed.
 272
 273 Q.     TAXES: (Check appropriate paragraph number)
 274        D 1.   Buyer will assume and pay all taxes on the Property beginning with the taxes due and payable
 275               on _ _ _ _ _ _ _ _ _ _ _ _ , _____ , and all taxes due thereafter. At or before closing, Seller
 276               shall pay all taxes for the Property payable before that date.
 277        002.   All taxes that have accrued for any prior calendar year that remain unpaid shall be paid by Seller either to the
 278               County Treasurer and/or the Buyer in the form of a credit at closing. All taxes that have accrued for the current
 279               calendar year shall be prorated on a calendar-year basis as of the day immediately prior to the Closing Date.
 280
 281        For purposes of paragraph 1 and 2: For the purpose of determining the credit amount for accrued but unpaid taxes,
 282        taxes shall be assumed to be the same as the most recent year when taxes were billed based upon certified tax rates.
 283        This shall be a final settlement.
 284
 285        03. FOR  RECENT CONSTRUCTION OR OTHER TAX SITUATIONS. Seller will give a tax credit of
 286        $ _ _ _ _ _ _ _ _ U.S. Dollars to Buyer at closing. This shall be a final settlement.
 287
 288   WARNING:
 289   *The succeeding year tax bill for recently constructed homes or following reassessment periods may greatly exceed
 290   the last tax bill available to the closing agent.
 291
 292   *Buyer acknowledges Seller's tax exemptions and/or credits may not be reflected on future tax bills.
 293
 294   *Buyer may apply for current-year exemptions/credits at or after closing.
 295
 296   R.   PRORATIONS AND SPECIAL ASSESSMENTS: Insurance, if assigned to Buyer, interest on any debt assumed or
 297        taken subject to, any rents, all other income and ordinary operating expenses of the Property, including but not limited
 298        to, public utility charges, shall be prorated as of the day immediately prior to the Closing Date. Seller shall pay any
 299        special assessments applicable to the Property for municipal improvements previously made to benefit the Property.
 300        Seller warrants that Seller has no knowledge of any planned improvements which may result in assessments and that
 301        no governmental or private agency has served notice requiring repairs, alterations or corrections of any existing
 302        conditions. Public or municipal improvements which are not completed as of the date above but which will result in a

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                                                                                       (Property Address)
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 303        lien or charge shall be paid by Buyer. Buyer will assume and pay all special assessments for municipal improvements
 304        completed after the date of this Agreement.
 305
 306   s.   TIME: Time is of the essence. Time periods specified in this Agreement and any subsequent Addenda to the
 307        Purchase Agreement are calendar days and shall expire at 11 :59 PM of the date stated unless the parties agree in
 308        writing to a different date and/or time.
 309
 310        Note: Seller and Buyer have the right to withdraw any offer/counter offer prior to written acceptance and
 311        delivery of such offer/counter offer.
 312
 313   T.   HOMEOWNERS ASSOCIATION/CONDOMINIUM ASSOCIATION ("Association"): Documents for a mandatory
 314        membership association shall be delivered by the Seller to Buyer within ____ days after acceptance of this
 315        Agreement, but not later than 10 days prior to closing pursuant to I.C. 32-21-5-8.5. Brokers are not responsible for
 316        obtaining, verifying or interpreting this information. The parties agree that Brokers and their companies shall be
 317        released and held harmless from any and all liability arising out of or related to these documents.
 318
 319        If the Buyer does not make a written response to the documents within ____ days after receipt, the documents
 320        shall be deemed acceptable. In the event the Buyer does not accept the provisions in the documents and such
 321        provisions cannot be waived, this Agreement may be terminated by the Buyer and the earnest money deposit shall be
 322        refunded to Buyer promptly. Any approval of sale required by the Association shall be obtained by the Seller, in writing,
 323        within ____ days after Buyer's approval of the documents. Fees charged by the "Association", or its management
 324        company, for purposes of verification of good standing and/or transfer of ownership shall be shared equally by Buyer
 325        and Seller. Start-up or one time reserve fees, if any, shall be paid by Buyer.
 326
 327        Buyer acknowledges that in every neighborhood there are conditions which others may find objectionable. Buyer shall
 328        therefore be responsible to become fully acquainted with neighborhood and other off-site conditions that could affect the
 329        Property.
 330
 331   u.   ATTORNEY'S FEES: Any party to this Agreement who is the prevailing party in any legal or equitable
 332        proceeding against any other party brought under or with relation to the Agreement or transaction shall be additionally
 333        entitled to recover court costs and reasonable attorney's fees from the non-prevailing party.
 334
 335   V.   ADDITIONAL PROVISIONS:
 336
 337        1.   Unless otherwise provided, any proration's for rent, taxes, insurance, damage deposits, association
 338             dues/assessments, or any other items shall be computed as of the day immediately prior to the Closing Date.
 339
 340        2.   Underground mining has occurred in Indiana, and Buyers are advised of the availability of subsidence
 341             insurance. Broker is not responsible for providing or verifying this information.
 342
 343        3.   The Indiana State Police has created a registry of known meth contaminated properties which can be found at
 344             www.in.gov/meth. Click on "Clan Lab Addresses." Broker is not responsible for providing or verifying this information.
 345
 346        4.   The Indiana Sheriff's Sex Offender Registry (www.indianasheriffs.org) exists to inform the public about the
 347             identity, location and appearance of sex offenders residing within Indiana. Broker is not responsible for providing or
 348             verifying this information.
 349
 350        5.   Conveyance of this Property shall be by general Warranty Deed, or by _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 351             subject to taxes, easements, restrictive covenants and encumbrances of record, unless otherwise agreed.
 352
 353        6.   If it is determined Seller is a "foreign person" subject to the Foreign Investment in Real Property Tax Act,
 354             Seller will pay applicable tax obligation.
 355
 356        7.   Any notice required or permitted to be delivered shall be deemed received when personally delivered, transmitted
 357             electronically or digitally or sent by express courier or United States mail, postage prepaid, certified and return
 358             receipt requested, addressed to Seller or Buyer or the designated agent of either party.
 359
 360        8.   This Agreement shall be construed under and in accordance with the laws of the State of Indiana and is
 361             binding upon the parties' respective heirs, executors, administrators, legal representatives, successors, and assigns.
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                                                                         (Property Address)
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 362         9.   In case any provision contained in this Agreement is held invalid, illegal, or unenforceable in any respect, the
 363              invalidity, illegality, or unenforceability shall not affect any other provision of this Agreement.
 364
 365         10. This Agreement constitutes the sole and only agreement of the parties and supersedes any prior understandings or
 366             written or oral agreements between the parties' respecting the transaction and cannot be changed except by their
 367             written consent.
 368
 369         11. All rights, duties and obligations of the parties shall survive the passing of title to, or an interest in, the
 370             Property.
 371
 372         12. Broker(s) may refer Buyer or Seller to other professionals, service providers or product vendors, including lenders,
 373             loan brokers, title insurers, escrow companies, inspectors, pest control companies, contractors and home warranty
 374             companies. Broker(s) does not guarantee the performance of any service provider. Buyer and Seller are free to select
 375             providers other than those referred or recommended to them by Broker(s). The Parties agree that Brokers and their
 376             companies shall be released and held harmless in the event of claims disputes with any service provider.
 377
 378         13. By signing below, the parties to this transaction acknowledge: 1) receipt of a copy of this Agreement; and 2)
 379             information regarding this transaction may be published in a listing service, Internet or other advertising media.
 380
 381         14. Any amounts payable by one party to the other, or by one party on behalf of the other party, shall not be owed
 382             until this transaction is closed.
 383
 384         15. Buyer and seller consent to receive communications from Broker(s) via telephone, U.S. mail, email, text message
 385             and facsimile at the numbers/addresses provided to Broker(s) unless Buyer and Seller notify Broker(s) in writing to the
 386             contrary.
 387
 388         16. Buyer discloses to Seller that Buyer holds Indiana Real Estate License# _ _ _ _ _ _ _ _ _ _ _ _ __
 389
 390   17.   Where the word "Broker" appears, it shall mean "Licensee" as provided in I.C.25-34.1-10-6.8.
 391
 392   W.    FURTHER CONDITIONS (List and attach any addenda): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 393
 394
 395
 396
 397
 398
 399
 400
 401
 402
 403   X.    CONSULT YOUR ADVISORS: Buyer and Seller acknowledge they have been advised that. prior to signing this
 404         document, they may seek the advice of an attorney for the legal or tax consequences of this document and the transaction
 405         to which it relates. In any real estate transaction, it is recommended that you consult with a professional, such as a civil
 406         engineer, environmental engineer, or other person, with experience in evaluating the condition of the Property.
 407
 408   Y.    ACKNOWLEDGEMENTS: This D is Ix] is not a limited agency transaction. Buyer and Seller acknowledge that
 409         each has received agency office policy disclosures, has had agency explained, and now confirms all agency relationships.
 410         Buyer and Seller further acknowledge that they understand and accept agency relationships involved in this transaction. By
 411         signature below, the parties verify that they understand and approve this Purchase Agreement and acknowledge receipt of a
 412         signed copy.
 413
 414   z.    EXPIRATION OF OFFER: Unless accepted in writing by Sellerand delivered to Buyer by                          5:00
 415           A.M. Ix] P.M. D Noon, on                      March 22 2019                       , this Purchase Agreement shall be null
 416         and void and all parties shall be relieved of any and all liability or obligations.
 417
 418         This Agreement/contract together with any and all subsequent forms, amendments and addenda may be executed
 419         simultaneously or in two or more counterparts, each of which shall be deemed an original but all of which together shall
 420         constitute one and the same instrument. The parties agree that this Agreement, together with any and all subsequent
 421         forms, amendments and addenda may be transmitted between them electronically or digitally. The parties intend that
 422         electronically or digitally transmitted signatures constitute original signatures and are binding on the parties. The
 423         original documents shall be promptly delivered, if requested.
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 424[l;"7~k
 425  R'S"SIGNATURE
                                                       3/19/2019
                                                                                  DATE               ~~       R"S'SIGNATURE
                                                                                                                                                         3/19/2019
                                                                                                                                                                                        DATE
 426
 427 Cory Conkle                                                                                     Rebecca Conkle
 428 PRINTED                                                                                         PRINTED
 429
 430 AA. SELLER'S RESPONSE: (Check appropriate paragraph number):
 431
 432 On
 433
               JV(()z,-re,,h                          l{
                                 'J-- )<J l °l , at 1'. /aJ ~.M. DP.M. DNoon
 434 ~1. The above offer is Accepted.
 435
 436   2. The above offer is Rejected.
 437
 438    D 3.      The above offer is Countered. See Counter Offer. Seller should sign both the Purchase Agreement and the Counter
 439              Offer.
 440
 441
 4
 443 . 4. 2 ~   L~
            . ·~~                                                      3/r:J-J /:Jal? - - - - - - - - - - - - - - - - - - - -
 444 ~                                                                            DATE               SELLER'S SIGNATURE                                                                 DATE
 445                                        r,                       1 -
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 441 PMT~Dtfu                oF-        vu-vtli'2-r I              f3wi ~ ,fey                       PRINTED

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       [B            Prepared and provided as a member service by the Indiana Association of REALTORS®, Inc. (IAR) This form is                                                         6,.
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                                                                                                                                                                                        OPPORTUNITY




                                                               773 N 1100 W Dunkirk IN 47336-9077
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  '
AennyMacSM
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                                                                                 Notice Date: July 16, 2019


P.O. Box 514387                                                                   Loan Number: 1 002821361
Los Angeles, CA 90051-4387
                                                                                  Property Address:
                                                                                  773 N 1100W
                                                                                  DUNKIRK, IN 47336

          MELISSA NEWSOME                                                         RE: Property Resolution- Short Sale Approval

          773 N 1100W
          DUNKIRK, IN 47336

          Dear: MELISSA NEWSOME

          REGARDING YOUR LOAN

          Thank you for expressing an interest in a Short Sale of your property with PennyMac Loan Services, LLC (PennyMac).
          Your application is complete. The sale of the property is approved based on the requirements contained within this
          letter.


     I WHY YOU RECEIVED THIS NOTICE
          PennyMac (the servicer) consents to this Request for Approval of a Short Sale and agrees to accept all net proceeds from the
          settlement as full and final satisfaction of the first mortgage Indebtedness on the referenced property. This agreement is
          subject to the following:

              •   Terms - The sale and closing comply with all terms and conditions of the Short Sale Agreement between the Servicer
                  and the Borrower as well as all terms and representations provided herein by the Borrower.
              •   Changes - Any change to the terms and representations contained in this Request for Approval of Short Sale must be
                  approved by the servicer prior to closing.
              •   Foreclosure sale - The foreclosure sale will not be completed, if the short sale agreement is not expired or the agreed
                  upon funds have been received.
              •   Property Condition - The property Is being sold in "AS IS" condition. No repairs will be paid for out of the proceeds,
                  unless specifically stated otherwise.

                               Terms of Short Sale Approval                    Loan   Number 1002821361
1. Contract Sales Price                   $                              63,000.00     6.   Proceeds Received Date: August 30, 2019
2. Less Total Allowable Closing Costs     $                               5,370.24     7.   Approved Buyer(s):
     a.             Commissions                        $                  3,780.00          Cory and Rebecca Conkle
     b.             Settlement Escrow/Attorney Fees    $                    750.00
     c.             Seller's Title and Escrow Fees     $                    650.00     8.   Settlement Agent:
     d.             Subordinate Lien Payoff            $
     e.             Transfer taxes/stamps/recording
     fees                                              $
     f.             Real Property Taxes                $                    190.24     9.   Settlement Agent's Address:
     g.             HOA Payoff                         $
     h.             Termite Inspection/Repair          $                                    I

     i.             Borrower Relocation Assistance     $
     j.             Seller Closing Credit              $                      0.00
     k.             Other (see below)                  $                      0.00
3.        Net Proceeds to Servicer                     $                 57,629.76
                                                                                       10. Settlement Agent's Office Phone:
4. Buyer Contribution                                  $
                                                                                       11. Settlement Agent's Office Fax:
5. Seller Cash Contribution                            $
          Terms of Short Sale Explanation on Other Costs:

          Under penalty of perjury you certify that:




                                                                                                                Exhibit B
                        Case 18-10633-reg               Doc 34           Filed 07/19/19         Page 14 of 19
 A.        The sale of the property is an "arm's length" transaction, between parties who are unrelated and unaffiliated by family,
           marriage, or commercial enterprise;
 B.        There are no agreements or understandings between you and the Buyer that you will remain in the property as a tenant
           or later obtain title or ownership of the property;
 c.        Neither you nor the Buyer will receive any funds or commissions from the sale of the property; and
 D.        There are no agreements or offers relating to the sale or subsequent sale of the property that have not been disclosed to
           the Servicer.



 MELISSA NEWSOME                                     Date                                                                    Date




I ACTION REQUIRED

      1.      Payment Instructions - Payoff funds, a Final Settlement Statement/Closing Disclosure, the subordinate agreement (if
              applicable), and this signed agreement must be received by the Servicer by the Proceeds Received Date (item #6, page
              1) in accordance with the attached wiring instructions
      2.      Wiring Instructions -

                              Bank Name                     Bank of America

                              ABA Routing                   026009593
                              Number

                              Bank Address                  100 West 33 rd Street, New York, NY 10001

                              For Credit to                 PennyMac Loan Servicing, LLC Payment Clearing Account

                              Account Number                12359-83182

                              For Benefit of                MELISSA NEWSOME

                              For Final Credit              1002821361
                              To


      3.     Proceeds - All net proceeds must be approved by PennyMac. The Seller/Borrower will not receive any sale proceeds
             from this transaction. Any excess funds as a result of this sale must be sent to PennyMac Loan Services, LLC. If the net
             proceeds from the sale are not sufficient to pay off the total unpaid balance, the Seller/Borrower agrees that as a
             condition of this approval PennyMac will receive any funds held in an escrow/impound account and any refunds from
             pre-paid expenses that otherwise would be payable to Seller/Borrower. This includes, but is not limited to, proceeds
             received from any hazard insurance claims and/or any unearned premiums. These funds also must be made payable
             directly to PennyMac without recourse.
      4.     Arm's Length Transaction - You can't list the property with or sell it to anyone that you are related to or have a close
             personal or business relationship with. In legal language, it must be an "arm's length transaction." If you have a real
             estate license you can't earn a commission by listing your own property. You may not have any agreements to receive
             a portion of the commission or the sales price after closing. The purchaser may not sell the property for any sales price
             within 30 days after the short sale settlement date. For the period between 31 and 90 calendar days from the date of
             the short sale settlement date, the purchaser is prohibited from selling the property for a gross sales price greater than
             120% of the short sale price. The prohibitions described above must be included in the sales contract and deed
             conveying the property to the purchaser, These restrictions shall run with the land and are not personal to the
             purchaser. You may not have any expectation that you will be able to buy your house back after the closing. Any
             knowing violation of the arm's length transaction prohibition may be a violation of federal law. If the above conditions
             are not met, PennyMac reserves the right to return the payoff funds.
      5.     Closing and Receipt of Net proceeds - The transaction must close in accordance with requirements stated in this
             document. The proceeds due to the servicer must be received by the servicer no later than the date stated on item #6,
             page one of this approval document. In the event the proceeds are not received on or before the date specified on
             item #6, a new approval from the servicer is required. You may accept these terms only by completing the short sale of
             your property and delivering the net proceeds of the sale to PennyMac by August 30, 2019 .




                                                                                                                       Page 2 of 4
                       Case 18-10633-reg              Doc 34         Filed 07/19/19            Page 15 of 19
     6.    Final Settlement Statement/Closing Disclosure -The Final Settlement Statement/Closing Disclosure must be approved
           by PennyMac before PennyMac will accept funds. The certified Final Settlement Statement/Closing Disclosure must be
           sent to the servicer within 2 days of the closing.
     7.    Subordinate Liens - Prior to releasing any funds to holders of subordinate liens/mortgages, the closing agent must
           obtain a written commitment from the subordinate lien holder that it will release Borrower from all claims and liability
           relating to the subordinate lien in exchange for receiving the agreed upon payoff amount. The written commitment is
           to be sent to the servicer prior to closing the file.

 Please provide a new mailing address, if applicable, for the purpose of future correspondence related to the short sale (i.e.
 Year-End forms).

 New Mailing Address, City, State, Zip Code




I ADDITIONAL INFORMATION
     •     Bankruptcy - If you are currently in bankruptcy or you file bankruptcy prior to closing, you must obtain any required
           consent or approval of the Bankruptcy Court.
     •     Tax Consequences - A short payoff of the mortgage may have tax consequences. You are advised to contact a tax
           professional to determine the extent of tax liability, if any.
     •     Credit Bureau Reporting - We will follow standard industry practice and report to the major credit reporting agencies
           that your mortgage was settled for less than the full payment. We have no control over or responsibility for the impact
           of this report on your credit score. To learn more about the potential impact of a short sale on your credit you may
           want to go to http://www.ftc.gov/bcp/edu/pubs/consumer/credit/cre24.shtm.
     •     Satisfaction and Release of Liability - If all of the terms and conditions of this Agreement are met, upon sale and
           settlement of the property, PENNYMAC will prepare and send for recording a lien release in full satisfaction of the
           mortgage, foregoing all rights to personal liability or deficiency judgment. Prior to releasing any funds to holders of
           subordinate liens/mortgages, the closing agent must obtain a written commitment from the subordinate lien holder
           that it will release Borrower from all claims and liability relating to the subordinate lien in exchange for receiving the
           agreed upon payoff amount.



I QUESTIONS? CONTACT us


 If you have questions, please contact me directly between the hours of 08:00AM and 05:00PM. If you would like to escalate an
 issue, please contact propertyresolution@pnmac.com

 Sincerely,

 Angelique Cruz
 PennyMac Loan Services, LLC
 (866) 695-4122 ext. 5102
 Toll-free: (866) 695-4122       Website: www. PennyMacUSAcom                Payments:                         Correspondence:
 M-F 6:00AM - 6:00PM PT          Secure Messaging Online:                    Standard Address:                 Attn: Correspondence Unit
 SAT 7:00 AM - 11 :00AM PT       Create en account and/or log in to          P.O. Box 30597                    P.O. Box 514387
 Toll-free Fax: (866) 577-7205   http://www.PennyMacUSA.com, then look for   Los Angeles, CA 90030-0597        Los Angeles, CA 90051-4387
                                 the Secured Message Center to               Overnight Address:                (Please do not send payments)
                                 communicate with us securely.               PennyMac Loan Services
                                                                             Attn: Lockbox Opera,k-.1s POB
                                                                             30597
                                                                             20500 Belshaw Ave.
                                                                             Carson, CA 90746




                                                                                                                      Page 3 of 4
                               Case 18-10633-reg                 Doc 34         Filed 07/19/19             Page 16 of 19
                                                           Important Legal Notices
PennyMac Loan Services, LLC ("PennyMac") is required under state law to notify consumers of the following rights. This list does not contain a complete
list of the rights consumers have under state and federal law.

ARKANSAS: Licensed by the Arkansas Securities Department. Complaints regarding the servicing of your mortgage may be submitted to the
Commissioner at www.securities.arkansas.gov.

CALIFORNIA : As required by law, you are hereby notified that a negative credit report reflecting on your credit record may be submitted to a credit
reporting agency if you fail to fulfill the terms of your credit obligations. The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt
Collection Practices Act require that, except under unusual circumstances, collectors may not contact you before 8 a.m. or after 9 p.m. They may not
harass you by using threats of violence or arrest or by using obscene language. Collectors may not use false or misleading statements or call you at
work if they know or have reason to know that you may not receive personal calls at work. For the most part, collectors may not tell another person,
other than your attorney or spouse, about your debt. Collectors may contact another person to confirm your location or enforce a judgment. For more
information about debt collection activities, you may contact the Federal Trade Commission at 1-877-FTC-HELP or www.ftc.gov. Licensed by the
Department of Business Oversight under the California Residential Mortgage Lending Act.

COLORADO: A consumer has the right to request in writing that a debt collector or collection agency cease further communication with the consumer. A
written request to cease communication will not prohibit the debt collector or collection agency from taking any other action authorized by law to collect
the debt. FOR INFORMATION ABOUT THE COLORADO FAIR DEBT COLLECTION PRACTICES ACT, SEE https://coag.gov/car. Our local office is
located at 700 17th St, Suite 200, Denver, CO 80202, (866) 436-4766.

HAWAII: Licensed as a mortgage servicer by the Commissioner of the Division of Financial Institutions of the State of Hawaii. As a borrower, you have
certain rights pertaining to complaint resolution, including those set out in this notice, and you have the right to submit complaints to the DFI
Commissioner. A DFI complaint form and information about submitting complaints are available at http://cca.hawail.gov/dfi/file-a-complaint/. Complaints
may be mailed to Division of Financial Institutions, DCCA, P.O. Box 2054, Honolulu, HI 96805.

MAINE: PennyMac Loan Services, LLC operating hours are 6:00 A.M. until 6:00 P.M. Pacific Time Monday through Friday and 7:00 A.M. until 11:00
A.M. Pacific Time Saturday. You may contact our office during business hours by calling (866) 545-9070.

MASSACHUSETTS: NOTICE OF IMPORTANT RIGHTS: You have the right to make a written or oral request that telephone calls regarding your debt
not be made to you at your place of employment. Any such oral request will be valid for only ten days unless you provide written confirmation of the
request postmarked or delivered within seven days of such request. You may terminate this request by writing to the debt collector. Mortgage Lender
License # ML35953.

MINNESOTA: This collection agency is licensed by the Minnesota Department of Commerce. This is not an offer to enter into an agreement and an offer
may only be made pursuant to Minn. Stat. §47.206 (3) & (4).

NEW YORK: Under the Fair Debt Collection Practices Act debt collectors are prohibited from engaging in abusive, deceptive, and unfair debt collection
efforts, including but not limited to: (i) the use or threat of violence; (Ii) the use of obscene or profane language; and (iii) repeated phone calls made with
the intent to annoy, abuse, or harass. If a creditor or debt collector receives a money judgment against you in court, state and federal laws prevent the
following types of income from being taken to pay the debt: 1) Supplemental security income (SSI): 2) Social security; 3) Public assistance (welfare): 4)
Spousal support, maintenance (alimony) or child support; 5) Unemployment benefits; 6) Disability benefits; 7) Workers' compensation benefits; 8) Public
or private pensions; 9) Veterans' benefits; 10) Federal student loans, federal student grants, and federal work study funds; and 11) Ninety percent of
your wages or salary earned in the last sixty days. New York City Department of Consumer Affairs Collection Agency License 1294096-DCA, 1467388-
DCA, 2038669-DCA, 2040969-DCA, 2076695-DCA, 2079363-DCA. City of Buffalo Collection Agency License 551910. PennyMac is registered with the
Superintendent of the New York State Department of Financial Services (Department). You may obtain further information or file a complaint by calling
the Department's Consumer Assistance Unit at 1-800-342-3736 or by visiting www.dfs.ny.gov. Loans not available in New York.

NORTH CAROLINA: Licensed by the North Carolina Office of the Commissioner of Banks. Complaints regarding the servicing of your mortgage may be
submitted to the Office of the Commissioner of Banks, 316 W. Edenton Street, Raleigh, NC 27603, (919) 733-3016. North Carolina Permit No. 104753,
112228, 112874, 112877.

OREGON: Residential mortgage loan servicers are regulated by the Oregon Division of Financial Regulation. To file a complaint, call (866) 814-9710 or
visit http://dfr.oregon.gov.

TENNESSEE: This collection agency is licensed by the Collection Service Board, State Department of Commerce and Insurance.

TEXAS: COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE SENT TO THE DEPARTMENT OF SAVINGS AND
MORTGAGE LENDING, 2601 N. LAMAR, SUITE 201, AUSTIN, TX 78705. A TOLL-FREE CONSUMER HOTLINE IS AVAILABLE AT (877) 276-5550. A
complaint form and instructions may be downloaded and printed from the Department's website located at www.sml.texas.gov or obtained from the
depurl,nent upon request by mail at the address above, by telephone at its toll-fre:; consumer hotline listed above, or by email at smlinfo@sml.texas.gov.

UTAH: As required by Utah law, you are hereby notified that a negative credit report reflecting on your credit record may be submitted to a credit
reporting agency if you fail to fulfill the terms of your credit obligations.
This is an attempt by a debt collector to collect a debt and any information obtained will be used for that purpose. However, if your account is
 subject to pending bankruptcy proceedings or if you have received a discharge in bankruptcy, this statement is for informational purposes
~                                      only and is not an attempt to collect a debt against you personally.

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www.pennymacusa.com/state-licenses. Some products may not be available in all states. Information, rates and pricing are subject to change without
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This is not a commitment to lend. Other restrictions apply. All rights reserved. (02-2019)

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                                '      A.   Settlement Statement (HUD-1)
                                                                                                                                                                                                                               OMB No. 2502-0265
B. Type of Loan
1. •                  FHA 2.               •   RHS     3.   •       Conv. Unins.
                                                                                        6. File Number                                              7. Loan Number                                     8. Mortgage Insurance Case Number

4. •                                    5. •
                      VA                       Conv. Ins.
                                                                                                         190337180-52

C. Note:                              This form is furnished to give you a statement of actual settlement costs. Amounts paid to and by the settlement agent are shown.
                                      Items marked "(p.o.c)" were paid outside the closing; they are shown here for informational purposes and are not included in the totals.
D. Name and Address of Borrower                                                         E. Name and Address of Seller                                                             F. Name and Address of Lender

         Cory Daniel Conkle and                                                             Martin E Seifert as Trustee for the
         Rebecca Ann Conkle                                                                 Bankruptcy Estate of Trevor Justin Walker




G. Property Location                                                                    H. Settlement Agent                              866-620-7577                             Place of Settlement

         773 N 1100 W                                                                       SingleSource Property Solutions, LL
         Dunkirk, IN 47336                                                                  SingleSource Property Solutions, LLC
                                                                                            1000 Noble Energy Drive
                                                                                            Suite 300
                                                                                            Canonsburg, PA 15317                                                                  I. Settlement Date                            08/30/19
                                                                                                                                                                                    Disbursement Date                           08/30/19
J. Summary of Borrower's Transaction                                                                                                 K. Summary of Seller's Transaction
100. Gross Amount Due from Borrower                                                                                                  400. Gross Amount Due to Seller
101. Contract sales price                                                                                        63,000.00           401. Contract sales price                                                                                   63,000.00
102. Personal property                                                                                                               402. Personal property
103. Settlement charges to borrower (line 1400)                                                                    5,976.20          403.
104.                                                                                                                                 404.
105.                                                                                                                                 405.
     Adjustments for items paid by seller in advance                                                                                      Adjustments for items paid by seller in advance
106. City/town taxes         to                                                                                                      406. City/town taxes        to
107. County taxes 08/31/19 to 12/31/19                                                                                190.24         407. County taxes 08/31/19 to 12/31/19                                                                              190.24
108. Assessments             to                                                                                                      408. Assessments            to
109.                                                                                                                                 409.
110.                                                                                                                                 410.
111.                                                                                                                                 411.
112.                                                                                                                                 412.

120. Gross Amount Due from Borrower                                                                              69,166.44           420. Gross Amount Due to Seller                                                                             63,190.24
200. Amounts Paid By Or In Behalf Of Borrower                                                                                        500. Reductions In Amount Due To Seller
201. Deposit or earnest money                                                                                                        501. Excess deposit (see instructions)
202. Principal amount of new loan(s)                                                                                                 502. Settlement charges to seller (line 1400)                                                                 5,180.00
203. Existing loan(s) taken subject to                                                                                               503. Existing loan(s) taken subject to
204.                                                                                                                                 504. Payoff of first mortgage loan                                                                          58,010.24
                                                                                                                                             First Mortgage
205.                                                                                                                                 505. Payoff of second mortgage loan
                                                                                                                                             Second Mortgage
206.                                                                                                                                 506.
207.                                                                                                                                 507.
208.                                                                                                                                 508.
209.                                                                                                                                 509.
     Adjustments for items unpaid by seller                                                                                               Adjustments for items unpaid by seller
210. City/town taxes        to                                                                                                       510. City/town taxes        to
211. County taxes           to                                                                                                       511. County taxes           to
212. Assessments            to                                                                                                       512. Assessments            to
213.                                                                                                                                 513.
214.                                                                                                                                 514.
215.                                                                                                                                 515.
216.                                                                                                                                 516.
217.                                                                                                                                 517.
218.                                                                                                                                 518.
219.                                                                                                                                 519.

220. Total Paid by/for Borrower                                                                                           0.00       520. Total Reduction Amount Due Seller                                                                      63,190.24
300. Cash At Settlement from/to Borrower                                                                                             600. Cash At Settlement to/from Seller
301. Gross amount due from borrower (line 120)                                                                   69,166.44 601. Gross amount due to seller (line 420)                                                                           63,190.24
302. Less amounts paid by/for borrower (line 220)                                                  (                  0.00) 602. Less reductions in amount due seller (line 520)                                                   (            63,190.24)
303. Cash                                   ~ From              •    To Borrower                                 69,166.44           603. Cash
                                                                                                                                                                •      To
                                                                                                                                                                                        •      From Seller                                                 0.00
           The Public Reporting Burden for this collection of information is estimated at 35 minutes per response for collecting, reviewing, and reporting the data. This agency may not collect this information, and you are not required to complete this
           form, unless it displays a currently valid OMB control number. No confidentiality is assured; this disclosure is mandatory. This is designed to provide the parties to a RESPA covered transaction with information during the settlement process.
POC-B, Paid out of Closing by Buyer POC-S, Paid out of Closing by Seller




                                                                                                                                                                                                 Exhibit C
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L. Settlement Charges
700. Total Real Estate Broker Fees                                                                   $                   Paid From              Paid From
     Division of Commission (line 700) as follows:                                                                       Borrower's               Seller's
701. $ 2,520.00                           to Berkshire Hathaway                                                           Funds At               Funds At
702. $ 1,260.00                           to FC Tucker                                                                   Settlement             Settlement
703. Commission paid at Settlement                                                                                                                     3,780.00
704.
800. Items Payable In Connection With Loan
801. Our origination charge                                                                   $          (from GFE #1)
802. Your credit or charge (points) for the specific interest rate chosen                     $          (from GFE #2)
803. Your adjusted origination charges                                                                   (from GFE #A)
804. Appraisal fee to                                                               (from GFE #3)
805. Credit Report to                                                               (from GFE #3)
806. Tax service to                                                                 (from GFE #3)
807. Flood certification                                                            (from GFE #3)
808.
809.
810.
811.
812.
813.
814.
900. Items Required By Lender To Be Paid In Advance
901. Daily interest charges from to @ $/day                                         (from GFE #10)
902. Mortgage insurance premium for months to                                       (from GFE #3)
903. Homeowner's insurance for years to                                             (from GFE #11)
904.
905.
1000. Reserves Deposited With Lender
1001. Initial deposit for your escrow account                                       (from GFE #9)
1002. Homeowner's Insurance                 months @ $              per month          $
1003. Mortgage insurance                    months @ $              per month          $
1004. Property taxes                        months @ $              per month          $
1005.                                       months @ $              per month          $
1006.                                       months @ $              per month          $
1007.                                       months @ $              per month          $
1008. Aggregate escrow adjustment                                                      $
1100. Title Charges
1101. Title services and lender's title insurance                                   (from GFE #4)                               0.00
1102. Settlement or closing fee to SingleSource Property Soluti... $                                                          450.00                         750.00
1103. Owner's title insurance to SingleSource Property Solutions, LLC               (from GFE #5)                             171.20
1104. Lender's title insurance to SingleSource Property Solutio... $
1105. Lender's title policy limit              $
1106. Owner's title policy limit               $63,000.00
1107. Agent's portion of the total title insurance premium                                $
1108. Underwriter's portion of the total title insurance premium                          $
1109. Courier Fee to SingleSource Property Solutions LLC
1110. Search Fee to SingleSource Property Solutions LLC                                                                                                      250.00
1111. Wire Fee to SingleSource Property Solutions LLC                                                                          10.00
1112. Tief Policy Fee to SingleSource Property Solutions                                                                        5.00
1113.
1200. Government Recording and Transfer Charges
1201. Government recording charges                                           (from GFE #7)                                     25.00
1202. Deed $25.00      Mortgage $        Release $
1203. Transfer taxes                                                         (from GFE #8)                                     20.00
1204. City/county tax/stamps: Deed $10.00                Mortgage $
1205. State tax/stamps:         Deed $10.00              Mortgage $
1206.
1207.                                                                $
1208.                                                                $
1300. Additional Settlement Charges
1301. Required services that you can shop for                                (from GFE #6)
1302. Trustee Liability Insurance to Martin E. Seifert, as Truste... $
1303. Record Motion to Sell Order                                    $
1304. Closing Coordination to Ocean Title, LLC                                                                                295.00
1305. Municipal Lien Search est. to SingleSource Property Solutions                                                                                          400.00
1306. Bankruptcy Estate Fee to Martin E. Seifert, as Trustee for the Bankruptcy Estate of Tr                                5,000.00
1307. Title Exam Search to SingleSource Property Solutions
1308.
1309.
1310.
1400. Total Settlement Charges (enter on lines 103, Section J and 502, Section K)                                           5,976.20                   5,180.00
POC-B, Paid out of Closing by Buyer POC-S, Paid out of Closing by Seller




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                                                                                                                                                       Addendum to Settlement Statement

This page is attached to and made part of the Settlement Statement in the matter described on Page 1 of the Settlement Statement.

I have carefully reviewed this Settlement Statement and to the best of my knowledge and belief, it is a true and accurate statement of all receipts and
disbursements made on my account or by me in this transaction. I further certify that I have received a copy of the Settlement Statement.

Borrower(s) ___________________________________ 08/30/19                                             Seller(s)           ___________________________________ 08/30/19
            Cory Daniel Conkle                                                                                           Martin E Seifert as Trustee for the Bankruptcy Estate of
                                                                                                                         Trevor Justin Walker
                   ___________________________________ 08/30/19
                   Rebecca Ann Conkle
The Settlement Statement which I have prepared is a true and accurate account of funds received and funds disbursed or to be disbursed for this
transaction.
                                           08/30/19 ________________________________________ SingleSource Property Solutions, LL, Settlement Agent




WARNING: It is a crime to knowingly make false statements to the United States on this form. Penalties upon conviction can include a fine and imprisonment. For details see: Title 18 U.S. Code Section 1001
and Section 1010.
Paid outside of closing by B*borrower S*Seller K*Broker R*branch O*other
